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 6                                  UNITED STATES DISTRICT COURT

 7                                  EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                      CASE NO. 1:12-cr-00360-AWI-BAM
10                     Plaintiff,                   ORDER SHORTENING TIME TO HEAR
                                                    RULE 15 MOTION TO AUTHORIZE THE
11          v.                                      DEPOSITION OF RAYMOND GENTILE
12   GUSTAVO SALINAS,
13                     Defendant.                   Date:     June 30, 2014
                                                    Time:     11:00 A.M.
14                                                  Judge:    Hon. Barbara A. McAuliffe
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16
                                                ORDER
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18          Upon application of Defendant GUSTAVO SALINAS, and good cause appearing, IT IS
     HEREBY ORDERED that the time for hearing Defendant SALINAS’ Rule 15 Motion for the
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     Deposition of Raymond Gentile is hereby shortened, and the hearing on the motion shall be on
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     June 30, 2014 at 11:00 A.M. Any responses to that motion shall be filed by June 29, 2014.
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22   IT IS SO ORDERED.

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        Dated:    June 25, 2014                              /s/ Barbara A. McAuliffe            _
24                                                   UNITED STATES MAGISTRATE JUDGE

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